              Case 20-40163-JMM                   Doc 1      Filed 03/02/20 Entered 03/02/20 16:45:14                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF IDAHO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Robert Allen Auto Group, Inc.

2.   All other names debtor       FDBA     Robert Allen Mitsubishi
     used in the last 8 years     FDBA     Robert Allen Auto
                                  FDBA     Robert Allen Buick
     Include any assumed
     names, trade names and       FDBA     Robert Allen Kia
     doing business as names      FDBA     Robert Allen Mercedes-Benz
                                  FDBA     Robert Allen Nissan
                                  FDBA     Robert Allen Nissan of Helena, Inc.
                                  FDBA     Allen Family Holdings, L.L.C.

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  300 North 5th Ave.                                              9075 Stoney Creek Rd.
                                  Pocatello, ID 83201                                             Pocatello, ID 83204
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bannock                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  300 North 5th Ave. and
                                                                                                  345 North 5th Ave. Pocatello, ID 83201
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Robert Allen Auto Group, Inc.                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4411

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known



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Debtor   Robert Allen Auto Group, Inc.                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Robert Allen Auto Group, Inc.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 2, 2020
                                                  MM / DD / YYYY


                             X   /s/ Robert Allen                                                         Robert Allen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Steven L. Taggart                                                     Date March 2, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven L. Taggart 8551
                                 Printed name

                                 Maynes Taggart PLLC
                                 Firm name

                                 PO Box 3005
                                 Idaho Falls, ID 83403-3005
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address


                                 8551 ID
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          03/02/2020                              X /s/ Robert Allen
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert Allen
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Robert Allen Auto Group, Inc.
 United States Bankruptcy Court for the: DISTRICT OF IDAHO                                                                                            Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                Credit Cards                                                                                             $59,388.18
 c/o Tiffany
 Maldonado, Esq.
 1551 S. Wash. Ave.
 Ste 404
 Piscataway, NJ
 08854
 Angela Allen                                                    Personal Loan                                                                                            $71,000.00
 9075 Stoney Creek
 Rd.
 Pocatello, ID 83201
 Balboa Capital                                                  Lease of               Unliquidated                                                                    $751,935.04
 Corporation                                                     Equipment              Disputed
 575 Anton Blvd.
 12th Floor
 Costa Mesa, CA
 92626
 BFS Capital                                                     Loan                                                                                                   $134,057.00
 3301 N. University
 Dr.
 Suite 300
 Coral Springs, FL
 33065
 Caine & Weiner                                                  Copiers                                                                                                  $22,750.62
 2000 Warrington                                                 (abandoned)
 Way, Ste 150
 Louisville, KY 40222
 CenturyLink                                                     Phone Service                                                                                            $19,449.98
 PO Box 91155
 Seattle, WA 98111
 Citi Bank                                                       Credit Card                                                                                              $42,901.53
 PO Box 78045
 Phoenix, AZ 85062
 Dani McDonald                                                   Unpaid wages                                                                                             $10,000.00
 1502 Boston Rd.
 Helena, MT 59602



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Robert Allen Auto Group, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dealer-FX Group                                                 Services                                                                                                 $12,570.00
 Inc.
 80 Tiverton Court,
 Ste. 500
 Markham ON L3R
 0G4, Canada
 First Bankcard                                                  Credit Card                                                                                              $19,787.96
 PO Box 2457
 Omaha, NE
 68103-2457
 Great America                                                   2 Sharp Copiers                                     $15,068.20                  $3,000.00                $12,068.20
 Financial Serv                                                  @ $1,500 each
 625 First Street SE
 Ste. 800
 Cedar Rapids, IA
 52401
 Kenneth Edick                                                   Unpaid Wages                                                                                             $10,000.00
 3439 Blue Heron St.
 Helena, MT 59602
 Mitsubishi Motors                                               New Dealer             Unliquidated                                                                      $30,000.00
 North Am.                                                       Launch Support         Disputed
 6450 Katella Ave.                                               monies
 Cypress, CA 90630
 Robert Allard                                                   Daughter Melissa Contingent                                                                              $24,069.97
 307 S. Billings Blvd.                                           Murphy              Unliquidated
 #64                                                             purchased a car.    Disputed
 Billings, MT 59101                                              Salesman from
                                                                 RAN asked that he
                                                                 co-sign and he
                                                                 declined to do so
                                                                 and yet his name
                                                                 is on the loan with
                                                                 Santan
 Robert T. Allen                                                 Personal Loan                                                                                          $391,765.04
 9075 Stoney Creek
 Rd.
 Pocatello, ID 83204
 Susan K. Edick                                                  Unpaid Wages                                                                                             $15,000.00
 3439 Blue Heron St.
 Helena, MT 59602
 Tyler Allen                                                     Unpaid wages.                                                                                            $16,000.00
 316 W. 200 S. Apt.
 402
 Salt Lake City, UT
 84101
 US Bank Equipment                                               Equipment                                                                                                $65,768.59
 Finance
 1310 Madrid Street
 Marshall, MN 56258
 Valley Bank                                                     Operating Line of                                                                                      $134,356.70
 3030 Montana Ave.                                               Credit
 Helena, MT 59601


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Robert Allen Auto Group, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 VinSolutions                                                    Services                                                                                                 $10,112.96
 3400 New Hyde Park
 Rd.
 New Hyde Park, NY
 11042-1226




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        4,300,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            12,279.03

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,312,279.03


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            87,231.17


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            51,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,959,696.72


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,097,927.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                             12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                              debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 6,000.00   -                           3,000.00 = ....                 $3,000.00
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                             $3,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 1
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 Debtor         Robert Allen Auto Group, Inc.                                                 Case number (If known)
                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           A23673 Scotts Lock and Key Safe                                              $1,144.80                                        $1,144.80


           Office Furniture                                                                 $0.00    Liquidation                         $1,500.00


           1 Time 2 Speed File, Times 2                                                     $0.00    Expert                                $800.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           2 Sharp Copiers @ $1,500 each                                                    $0.00                                        $3,000.00


           FI Router                                                                        $0.00    Liquidation                           $200.00


           VOIP Phones                                                                    $589.23                                          $589.23



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $7,234.03
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Robert Allen Auto Group, Inc.                                                 Case number (If known)
                Name


        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Lift Table                                                                       $0.00    Liquidation                            $500.00


           Chargers for PHEV                                                                $0.00    Liquidation                            $100.00


           Pop Machine Cabinets                                                         $1,045.00                                         $1,045.00


           Bosch Auto. Svc Lockers                                                          $0.00    Liquidation                            $400.00



 51.       Total of Part 8.                                                                                                           $2,045.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Robert Allen Auto Group, Inc.                                                Case number (If known)
                Name

            55.1.    300 North 5th Ave.,
                     Pocatello - Buildings
                     and property totaling
                     28,961 square feet on
                     a 2.96 acre site.
                     Parcel 1 -
                     RUPOC175400 Block
                     270, Lots 11-15 &
                     South 6' of Lot 16
                     Parcel 2 -
                     RUPOC184300 Block
                     293, Lots 1 and 2
                     Parcel 3 -
                     RUPOC183500 Block
                     293, Lots 2 and 3
                     Parcel 4 -
                     RUPOC183600 Block
                     293, Lots 4 and 5
                     Parcel 5 -
                     RUPOC183700 Block
                     293 Lots 6 thru 10
                     Parcel 6 -
                     RPPOC184300 Block
                     294, Lots 1 thru 7
                     Parcel 7 -
                     RPPOC183800 Block
                     293, Lots 11 and 12
                     Parcel 8 - RPPOC
                     174700 Block 269,
                     Lots 165 and South
                     1/2 of 17
                     Parcel 9 -
                     RPPOC175200 Block
                     270, Lots 7 and 8
                     Parcel 10 -
                     RPPOC175302 Block
                     270, West 70' of Lots
                     9 and 10
                     Parcel 11 -
                     RUPOC173800 Block
                     270, Lots 1 and 2                    Fee simple                        $0.00      Appraisal          $4,300,000.00




 56.        Total of Part 9.                                                                                             $4,300,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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 Debtor         Robert Allen Auto Group, Inc.                                                Case number (If known)
                Name



 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Claim against Nissan Mitsubishi Acceptance
            Corporation for breach of contact, for intentional
            interference with economic relations and failure to
            mitigate on repossessions.

            Amount to be requested is unknown at this time. Mr.
            Allen may also have a personal claim.                                                                                 Unknown
            Nature of claim        Setoff of NMAC claims
            Amount requested                                             Unknown


 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                        $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 5
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 Debtor          Robert Allen Auto Group, Inc.                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $3,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $7,234.03

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,045.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,300,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $12,279.03          + 91b.            $4,300,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,312,279.03




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

 Debtor name         Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $1,415.83           $4,300,000.00
       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 and 2018                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       800A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 8
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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Nissan Motor Accept.
       Corp.
       2. Bannock County
       Treasurer
       3. Bannock County
       Treasurer
       4. Bannock County
       Treasurer
       5. Bannock County
       Treasurer
       6. Bannock County
       Treasurer
       7. Bannock County
       Treasurer
       8. Bannock County
       Treasurer
       9. Bannock County
       Treasurer
       10. Bannock County
       Treasurer
       11. Bannock County
       Treasurer
       12. Bannock Count

 2.2   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $1,102.31     $4,300,000.00
       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       700A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.3   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $1,474.70     $4,300,000.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 8
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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       200A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.4   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                       $707.87      $4,300,000.00
       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       302A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.5   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $21,381.22     $4,300,000.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 8
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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       400A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.6   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $1,948.06     $4,300,000.00
       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       400A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.7   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $1,948.06     $4,300,000.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 8
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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       500A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.8   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                      $1,914.74     $4,300,000.00
       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       600A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.9   Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $28,875.43     $4,300,000.00




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       700A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.1
 0     Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $2,386.60     $4,300,000.00
       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       800A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.1
 1     Bannock County Treasurer                       Describe debtor's property that is subject to a lien                     $9,008.15     $4,300,000.00




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
                                                      Parcel 1 - RUPOC175400 Block 270, Lots
                                                      11-15 & South 6' of Lot 16
                                                      Parcel 2 - RUPOC184300 Block 293, Lots 1
                                                      and 2
       624 E. Center St., Rm. 203                     Parcel 3 - RUPOC1835
       Pocatello, ID 83201
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019 & 2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       300A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.1   Great America Financial
 2     Serv                                           Describe debtor's property that is subject to a lien                     $15,068.20        $3,000.00
       Creditor's Name                                2 Sharp Copiers @ $1,500 each
       625 First Street SE Ste. 800
       Cedar Rapids, IA 52401
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Nissan Motor Accept. Corp.                     Describe debtor's property that is subject to a lien                     Unknown        $4,300,000.00
       Creditor's Name                                300 North 5th Ave., Pocatello - Buildings and
                                                      property totaling 28,961 square feet on a 2.96
                                                      acre site.
       8900 Freeport Parkway                          (SUBJECT TO SETOFF)
       Irving, TX 75063
       Creditor's mailing address                     Describe the lien
                                                      Commercial Agreement & UCC Filing
                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 7 of 8
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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1003
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $87,231.17

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Andrew S. Elliott, Esq.
        One Embarcadero Center,                                                                                 Line   2.13
        Suite 2600
        San Francisco, CA 94111

        Great America Financial Serv
        PO Box 609                                                                                              Line   2.12
        Cedar Rapids, IA 52406-0609

        Mark A. Ellingsen, Esq.
        Spokesman Reivew Building                                                                               Line   2.13
        608 Northwest Blvd. Ste. 300
        Coeur D Alene, ID 83814-2146

        Nissan Motor Accept. Corp.
        PO Box 660360                                                                                           Line   2.13
        Dallas, TX 75266

        Pioneer Lender Trustee Serv.
        8151 W. Rifleman St.                                                                                    Line   2.13
        Boise, ID 83704

        Pioneer TItle Co. of Bannock
        135 N. Arthur                                                                                           Line   2.13
        Pocatello, ID 83204




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 8 of 8
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 Fill in this information to identify the case:

 Debtor name         Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $10,000.00          $10,000.00
           Dani McDonald                                             Check all that apply.
           1502 Boston Rd.                                              Contingent
           Helena, MT 59602                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Unpaid wages

           Last 4 digits of account number None                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Idaho State Tax Commission                                Check all that apply.
           PO Box 36                                                    Contingent
           Boise, ID 83722                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     NOTICE ONLY
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                                   Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     NOTICE ONLY
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $10,000.00         $10,000.00
           Kenneth Edick                                             Check all that apply.
           3439 Blue Heron St.                                          Contingent
           Helena, MT 59602                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Unpaid Wages

           Last 4 digits of account number None                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $15,000.00         $13,650.00
           Susan K. Edick                                            Check all that apply.
           3439 Blue Heron St.                                          Contingent
           Helena, MT 59602                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           08/2019 - 11/30/2019                                      Unpaid Wages

           Last 4 digits of account number None                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $16,000.00         $13,650.00
           Tyler Allen                                               Check all that apply.
           316 W. 200 S. Apt. 402                                       Contingent
           Salt Lake City, UT 84101                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Unpaid wages.

           Last 4 digits of account number None                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 24
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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,729.06
          Advanced Auto Parts                                                   Contingent
          PO Box 404875                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $657.25
          All Florida Towing                                                    Contingent
          1107 Old Dixie Highway                                                Unliquidated
          West Palm Beach, FL 33403-2007                                        Disputed
          Date(s) debt was incurred 12/16/2019
                                                                             Basis for the claim:    Claim of Lien
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $459.98
          Alldata Automotive Intell.                                            Contingent
          9650 W. Taron Dr. Ste. 100                                            Unliquidated
          Elk Grove, CA 95757                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Software
          Last 4 digits of account number 1710
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,388.18
          American Express
          c/o Tiffany Maldonado, Esq.                                           Contingent
          1551 S. Wash. Ave. Ste 404                                            Unliquidated
          Piscataway, NJ 08854                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Credit Cards
          Last 4 digits of account
          number 8081,7282,3650,0878                                         Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,406.26
          American Tire Dist.                                                   Contingent
          PO Box 889                                                            Unliquidated
          Huntersville, NC 28070                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Tires
          Last 4 digits of account number       5640
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,378.21
          AmeriPride                                                            Contingent
          403 Main Ave. West                                                    Unliquidated
          Twin Falls, ID 83301                                                  Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Services
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $907.00
          AmTrust North America                                                 Contingent
          800 Superior Ave. E                                                   Unliquidated
          Cleveland, OH 44114                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Workman's Compensation
          Last 4 digits of account number       1596
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,931.20
          Andreanna Garzia                                                      Contingent
          1280 S. Meridian                                                      Unliquidated
          Blackfoot, ID 83221                                                   Disputed
          Date(s) debt was incurred  Unknown                                 Basis for the claim:    Unknown
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $71,000.00
          Angela Allen                                                          Contingent
          9075 Stoney Creek Rd.                                                 Unliquidated
          Pocatello, ID 83201                                                   Disputed
          Date(s) debt was incurred 05/2019
                                                                             Basis for the claim:    Personal Loan
          Last 4 digits of account number None
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,730.79
          AutoZone                                                              Contingent
          780 Yellowstone                                                       Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       5049
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $751,935.04
          Balboa Capital Corporation                                            Contingent
          575 Anton Blvd. 12th Floor                                            Unliquidated
          Costa Mesa, CA 92626
                                                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Lease of Equipment
          Last 4 digits of account number 5853
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,156.13
          Bank of America N.A.                                                  Contingent
          9000 Southside Blvd.                                                  Unliquidated
          FL9-600-01-57                                                         Disputed
          Jacksonville, FL 32256
                                                                             Basis for the claim:    Dealer Reserve Account
          Date(s) debt was incurred 2019
          Last 4 digits of account number       Unknown                      Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $737.04
          Barr Credit Services                                                  Contingent
          5151 E. Broadway Blvd.                                                Unliquidated
          Suite 800                                                             Disputed
          Tucson, AZ 85711
                                                                             Basis for the claim:    Collections for CARFAX
          Date(s) debt was incurred 2019
          Last 4 digits of account number       1192                         Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $227.57
          Battery Systems                                                       Contingent
          12322 Monarch St.                                                     Unliquidated
          Garden Grove, CA 92841                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $192.97
          Beaverton Infiniti                                                    Contingent
          PO Box 728                                                            Unliquidated
          Beaverton, OR 97075                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $134,057.00
          BFS Capital                                                           Contingent
          3301 N. University Dr.                                                Unliquidated
          Suite 300                                                             Disputed
          Coral Springs, FL 33065
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred 2018
          Last 4 digits of account number       0803                         Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $490.25
          Biehl & Biehl                                                         Contingent
          325 E. Fullerton Ave.                                                 Unliquidated
          Carol Stream, IL 60188                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections for Pilkington North America
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $227.08
          Blaize, Inc.                                                          Contingent
          704 332nd. NE                                                         Unliquidated
          Great Falls, MT 59404                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Unknown
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,750.62
          Caine & Weiner                                                        Contingent
          2000 Warrington Way, Ste 150                                          Unliquidated
          Louisville, KY 40222                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Copiers (abandoned)
          Last 4 digits of account number 1026
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $646.69
          Capital One                                                           Contingent
          7933 Preston Rd.                                                      Unliquidated
          Plano, TX 75024                                                       Disputed
          Date(s) debt was incurred  Unknown                                 Basis for the claim:    Credit Card
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,025.43
          Card Service Center                                                   Contingent
          PO Box 569100                                                         Unliquidated
          Dallas, TX 75356-9100                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       0335
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,761.83
          Carquest Auto                                                         Contingent
          PO Box 404875                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,878.00
          Cenex Fleet Fueling                                                   Contingent
          PO Box 64127                                                          Unliquidated
          Saint Paul, MN 55164-0127                                             Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number 5037
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,449.98
          CenturyLink                                                           Contingent
          PO Box 91155                                                          Unliquidated
          Seattle, WA 98111                                                     Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Phone Service
          Last 4 digits of account number       079B
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $309.98
          Chemwest                                                              Contingent
          47313 E. Majestic View                                                Unliquidated
          Idaho Falls, ID 83406                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number       None
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,588.59
          CHS, Inc.                                                             Contingent
          5500 Cenex Drive                                                      Unliquidated
          Inver Grove Heights, MN 55077-1721                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number 8503
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $42,901.53
          Citi Bank                                                             Contingent
          PO Box 78045                                                          Unliquidated
          Phoenix, AZ 85062                                                     Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Credit Card
          Last 4 digits of account number       8541
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $315.65
          Corelogic Credco LLC                                                  Contingent
          PO Box 847070                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,700.00
          Corporate Fleet Auto Express                                          Contingent
          PO Box 174                                                            Unliquidated
          Springdale, WA 99173                                                  Disputed
          Date(s) debt was incurred 01/23/2019
                                                                             Basis for the claim:    Transportation
          Last 4 digits of account number 4639
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $465.00
          Cottonwood Motors, Inc.                                               Contingent
          50 E. Central Ave.                                                    Unliquidated
          Salt Lake City, UT 84107                                              Disputed
          Date(s) debt was incurred 04/2019
                                                                             Basis for the claim:    Transportation/Parts
          Last 4 digits of account number 5683,7873
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $562.55
          Cuna Mutual Group                                                     Contingent
          PO Box 391                                                            Unliquidated
          Madison, WI 53701-0391                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number       0640
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $117.73
          Dash Designs                                                          Contingent
          615 W. Knox Rd.                                                       Unliquidated
          Tempe, AZ 85284                                                       Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Services
          Last 4 digits of account number       6861
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,570.00
          Dealer-FX Group Inc.                                                  Contingent
          80 Tiverton Court, Ste. 500                                           Unliquidated
          Markham ON L3R 0G4, Canada                                            Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Services
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,312.00
          Dealersocket                                                          Contingent
          PO Box 843876                                                         Unliquidated
          Los Angeles, CA 90084                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,236.25
          Dealertrack                                                           Contingent
          PO Box 6129                                                           Unliquidated
          New York, NY 10249                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Services
          Last 4 digits of account number       9472
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $41.99
          Demarios, Inc.                                                        Contingent
          dba Demarios Buick GMC Truck                                          Unliquidated
          PO Box 8539                                                           Disputed
          Missoula, MT 59807
                                                                             Basis for the claim:    Parts
          Date(s) debt was incurred 2019
          Last 4 digits of account number 8164                               Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,445.93
          Direct Automotive Distrib.                                            Contingent
          2775 E. 14th North                                                    Unliquidated
          Idaho Falls, ID 83406                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number 6636
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $55.00
          Divine Film Solutions                                                 Contingent
          35 Mountain Dr.                                                       Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred Unknown
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $805.51
          Eastern Commercial Credit                                             Contingent
          PO Box 340102                                                         Unliquidated
          Dayton, OH 45434-0102                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections for Reynolds & Reynolds
          Last 4 digits of account number 3831
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,834.80
          Enterprise Holdings                                                   Contingent
          PO Box 804914                                                         Unliquidated
          Kansas City, MO 64180-4914                                            Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Car Rentals
          Last 4 digits of account number 6314
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,408.45
          FedEx                                                                 Contingent
          PO Box 94515                                                          Unliquidated
          Palatine, IL 60094-4515                                               Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Shipping
          Last 4 digits of account number       7350
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Fifth Third Bank                                                      Contingent
          38 Fountain Square Plaza                                              Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Car
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $722.90
          First American Payment Sys.                                           Contingent
          100 Throckmorton, Ste. 1800                                           Unliquidated
          Fort Worth, TX 76102                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Credit Cards
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,787.96
          First Bankcard                                                        Contingent
          PO Box 2457                                                           Unliquidated
          Omaha, NE 68103-2457                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       8353
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,782.21
          First Bankcard                                                        Contingent
          PO Box 2818                                                           Unliquidated
          Omaha, NE 68103-2818                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       2756
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,070.88
          First Data Global Leasing                                             Contingent
          PO Box 173845                                                         Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Lease of Terminals
          Last 4 digits of account number       1483
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $132.00
          Fisher's Technology                                                   Contingent
          575 E. 42nd Street                                                    Unliquidated
          Garden City, ID 83714                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       9DBM
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Fitech                                                                Contingent
          301 Commerce St., Ste. 1400                                           Unliquidated
          Fort Worth, TX 76102                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Merchant Fees
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $735.20
          Flagship                                                              Contingent
          3 Christy Dr. Ste. 201                                                Unliquidated
          Chadds Ford, PA 19317                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Unknown
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $368.82
          Flying M Machine & Fab.                                               Contingent
          3148 East Lyndale Ave.                                                Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       2987
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,934.20
          GB Collects, LLC                                                      Contingent
          1253 Haddonfield Berlin Rd.                                           Unliquidated
          Voorhees, NJ 08043-4847                                               Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections for Guardian Life Insurance
          Last 4 digits of account number 1397
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $123.00
          General Distributing Co.                                              Contingent
          PO Box 2606                                                           Unliquidated
          Great Falls, MT 59403-2606                                            Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number 8066
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $90.50
          Golden West Enterprises                                               Contingent
          1740 Holmes Ave.                                                      Unliquidated
          Butte, MT 59701                                                       Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       None
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $480.00
          Green Mewdow Auto Salvage                                             Contingent
          7313 Green Meadow Drive                                               Unliquidated
          Helena, MT 59602                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number 57
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $52.11
          Hansen Janitorial                                                     Contingent
          410 South 1st.                                                        Unliquidated
          Pocatello, ID 83201                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Services
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $867.53
          Helena Towing Service                                                 Contingent
          1193 Hunter Rd.                                                       Unliquidated
          Helena, MT 59602                                                      Disputed
          Date(s) debt was incurred 09/09/2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number None
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,000.00
          Idaho Dpt. of Transportation                                          Contingent
          Revenue Operations                                                    Unliquidated
          PO Box 34
          Boise, ID 83731-0034                                                  Disputed

          Date(s) debt was incurred Various                                  Basis for the claim:    Citations
          Last 4 digits of account number None                               Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,826.80
          Ireland Bank                                                          Contingent
          PO Box 569100                                                         Unliquidated
          Dallas, TX 75326                                                      Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Credit Card
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $652.50
          Jackson Murdo & Grant PC                                              Contingent
          203 North Ewing Street                                                Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number 9898
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $652.50
          Jackson Murdo & Grant PC                                              Contingent
          203 North Ewing Street                                                Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Attorney Fees for District Court Case
          Last 4 digits of account number 9898
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $285.18
          Jaguar Land Rover                                                     Contingent
          Downtown Salt Lake                                                    Unliquidated
          150 E. 500 S.                                                         Disputed
          Salt Lake City, UT 84111
                                                                             Basis for the claim:    Parts
          Date(s) debt was incurred 2019
          Last 4 digits of account number       2068                         Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $240.00
          Jasons Auto Glass                                                     Contingent
          1051 Sawtooth                                                         Unliquidated
          Pocatello, ID 83202                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,667.27
          Jonathan Neil & Assoc., Inc.                                          Contingent
          17 West Main St., Suite 304                                           Unliquidated
          Freehold, NJ 07728                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections for Dealer.com
          Last 4 digits of account number 9555
                                                                             Is the claim subject to offset?     No       Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $285.18
          Ken Garff Jaguar                                                      Contingent
          150 E. 500 So.                                                        Unliquidated
          Salt Lake City, UT 84111                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $503.20
          Ken Garff MB                                                          Contingent
          575 S. State                                                          Unliquidated
          Salt Lake City, UT 84111                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,821.76
          Ken Garff Nissan                                                      Contingent
          777 SW Temple                                                         Unliquidated
          Salt Lake City, UT 84101                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       2068
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $47.70
          Ken Garff VW                                                          Contingent
          195 E. University                                                     Unliquidated
          Orem, UT 84058                                                        Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $195.00
          Kingdom Keys                                                          Contingent
          1050 E. Center                                                        Unliquidated
          Pocatello, ID 83201                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,250.00
          Lamar of Billings, MT                                                 Contingent
          7505 Entryway Dr.                                                     Unliquidated
          Billings, MT 59101                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $259.59
          Larry Miller Chev                                                     Contingent
          5500 S. State                                                         Unliquidated
          Murray, UT 84107                                                      Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       4509
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $90.84
          Larry Miller Luxury                                                   Contingent
          5686 State Street                                                     Unliquidated
          Salt Lake City, UT 84107                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $254.29
          Lawson Products                                                       Contingent
          PO Box 809401                                                         Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Products
          Last 4 digits of account number       0911
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $141.54
          Lithia Motors                                                         Contingent
          PO Box 1268                                                           Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,052.37
          LKQ of Eastern Idaho                                                  Contingent
          5497 S. 5th Ave.                                                      Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       3476
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $350.28
          Mercedes Benz Draper                                                  Contingent
          11548 S. Lone Peak Prkway.                                            Unliquidated
          Draper, UT 84020                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,505.62
          Mercedes of Farmington                                                Contingent
          555 W. Bourne Cir.                                                    Unliquidated
          Farmington, UT 84025                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $179.00
          Mitchell1                                                             Contingent
          25029 Network Place                                                   Unliquidated
          Chicago, IL 60673-1250                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number       9969
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,000.00
          Mitsubishi Motors North Am.                                           Contingent
          6450 Katella Ave.                                                     Unliquidated
          Cypress, CA 90630
                                                                                Disputed
          Date(s) debt was incurred Unknown
                                                                             Basis for the claim:    New Dealer Launch Support monies
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $20.10
          Moncur Distribution                                                   Contingent
          2835 E. Morningside Dr.                                               Unliquidated
          Idaho Falls, ID 83402                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $567.00
          MTADA                                                                 Contingent
          501 N. Sanders                                                        Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred  6/23/19                                 Basis for the claim:    Membership Dues
          Last 4 digits of account number None
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,501.50
          Mygrant Glass Company Inc.                                            Contingent
          c/o Jonathan Neil & Assoc.                                            Unliquidated
          Date(s) debt was incurred 2019                                        Disputed
          Last 4 digits of account number 9000                               Basis for the claim:    Services
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,472.22
          NAPA Auto Parts                                                       Contingent
          PO Box 1425                                                           Unliquidated
          Twin Falls, ID 83303                                                  Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       3256
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $184.23
          New Day Products                                                      Contingent
          1704 N. Main Street                                                   Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Supplies
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          New Start Financial                                                   Contingent
          PO Box 709473                                                         Unliquidated
          Sandy, UT 84070                                                       Disputed
          Date(s) debt was incurred  Unknown                                 Basis for the claim:    Unknown
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Nissan Motor Accept. Corp.                                            Contingent
          8900 Freeport Parkway
                                                                                Unliquidated
          Irving, TX 75063
                                                                                Disputed
          Date(s) debt was incurred 2019
          Last 4 digits of account number Unknown                            Basis for the claim:    Vehicles sold out of trust. SUBJECT TO SETOFF.
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,110.40
          NMAC Wholesale Processing                                             Contingent
          8900 Freeport Parkway
                                                                                Unliquidated
          Irving, TX 75063-2438
                                                                                Disputed
          Date(s) debt was incurred 2019
          Last 4 digits of account number 3901                               Basis for the claim:    Sign Lease
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,168.63
          North Shore Agency                                                    Contingent
          270 Spagnoli Road, Ste. 110                                           Unliquidated
          Melville, NY 11747                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections for FedEx
          Last 4 digits of account number 1840
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,920.41
          NorthWestern Energy                                                   Contingent
          11 E. Park. St.                                                       Unliquidated
          Butte, MT 59701                                                       Disputed
          Date(s) debt was incurred 09/26/2019
                                                                             Basis for the claim:    Electrical Service
          Last 4 digits of account number 9938
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $485.00
          Novus Glass                                                           Contingent
          PO Box 462                                                            Unliquidated
          McCammon, ID 83250                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,819.74
          O'Reilly Auto Parts                                                   Contingent
          1233 Yellowstone                                                      Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Auto Parts
          Last 4 digits of account number       6641
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          PacificSource Health Plans                                            Contingent
          PO Box 71096                                                          Unliquidated
          Springfield, OR 97475                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Cobra Admin Fees
          Last 4 digits of account number 550A
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $800.00
          Performance Outdoor                                                   Contingent
          PO Box 4983                                                           Unliquidated
          Pocatello, ID 83205                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $402.95
          Pitney Bowes Purchase Power                                           Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Postage Meter Rental
          Last 4 digits of account number 5936
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $10.38
          Porter's Office                                                       Contingent
          435 West Center                                                       Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Supplies
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $347.76
          Quality Foods Distributing                                            Contingent
          PO Box 11703                                                          Unliquidated
          Bozeman, MT 59719                                                     Disputed
          Date(s) debt was incurred 07/2019
                                                                             Basis for the claim:    Products Purchased
          Last 4 digits of account number 6545
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,127.00
          Rebecca Parrow                                                        Contingent
          27 Stillwater Drive                                                   Unliquidated
          Absarokee, MT 59001                                                   Disputed
          Date(s) debt was incurred Unknown
                                                                             Basis for the claim:    Unknown
          Last 4 digits of account number None
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,069.97
          Robert Allard                                                         Contingent
          307 S. Billings Blvd. #64
                                                                                Unliquidated
          Billings, MT 59101
                                                                                Disputed
          Date(s) debt was incurred 2019
          Last 4 digits of account number       None                                         Daughter Melissa Murphy purchased a car. Salesman
                                                                             Basis for the claim:
                                                                             from RAN asked that he co-sign and he declined to do so and yet his
                                                                             name is on the loan with Santander. He believes that his signature
                                                                             might have been forged.
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $391,765.04
          Robert T. Allen                                                       Contingent
          9075 Stoney Creek Rd.                                                 Unliquidated
          Pocatello, ID 83204                                                   Disputed
          Date(s) debt was incurred 2019 and 2020
                                                                             Basis for the claim:    Personal Loan
          Last 4 digits of account number None
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,063.87
          Rogers Machinery Company                                              Contingent
          PO Box 230429                                                         Unliquidated
          Portland, OR 97281-0429                                               Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number 3835
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $787.04
          Santander Consumer USA                                                Contingent
          5201 Rufe Snow Dr., Ste. 400                                          Unliquidated
          North Richland Hills, TX 76180                                        Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Loan Chargeback
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,300.00
          Scripps Center                                                        Contingent
          312 Walnut St.                                                        Unliquidated
          Cincinnati, OH 45202                                                  Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Advertising
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $341.94
          Sparklight                                                            Contingent
          PO Box 78000                                                          Unliquidated
          Phoenix, AZ 85062                                                     Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Internet Service
          Last 4 digits of account number       9917
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $149.50
          Sunrise Credit Services, Inc                                          Contingent
          PO Box 9100                                                           Unliquidated
          Farmingdale, NY 11735-9100                                            Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections for Charter Communications
          Last 4 digits of account number 2053
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $399.50
          Swire Coca-Cola, USA                                                  Contingent
          PO Box 413121                                                         Unliquidated
          Salt Lake City, UT 84141                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number       7624
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          TD Auto Finance                                                       Contingent
          Mail Code MI1-012-11D                                                 Unliquidated
          PO Box 9218                                                           Disputed
          Farmington, MI 48333-9218
                                                                             Basis for the claim:    Dealer Reserve
          Date(s) debt was incurred 2020
          Last 4 digits of account number 2275                               Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $184.43
          Teton Honda                                                           Contingent
          1921 Hurley Dr.                                                       Unliquidated
          Pocatello, ID 83202                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $23.83
          Teton Hundai                                                          Contingent
          1350 Yellowstone Ave.                                                 Unliquidated
          Pocatello, ID 83201                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number       Unknown
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $115.00
          The Carmedic                                                          Contingent
          4521 Hedge Rd.                                                        Unliquidated
          Roxana, IL 62084                                                      Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Repairs
          Last 4 digits of account number       2180
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $54.74
          The Smith Group Chevrolet                                             Contingent
          PO Box 1896                                                           Unliquidated
          Idaho Falls, ID 83403                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Parts
          Last 4 digits of account number 5001
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,418.65
          Tidalwave Car Wash                                                    Contingent
          115 Industrial Ct.                                                    Unliquidated
          Kalispell, MT 59901                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Supplies
          Last 4 digits of account number       None
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $280.50
          Tire Depot                                                            Contingent
          55528 US Hwy 93                                                       Unliquidated
          Polson, MT 59860                                                      Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Parts
          Last 4 digits of account number       None
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $558.82
          Tri County Disposal                                                   Contingent
          3630 York Road                                                        Unliquidated
          Helena, MT 59602                                                      Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Garbage Service
          Last 4 digits of account number       6800
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $65,768.59
          US Bank Equipment Finance                                             Contingent
          1310 Madrid Street                                                    Unliquidated
          Marshall, MN 56258                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Equipment
          Last 4 digits of account number 8922
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $134,356.70
          Valley Bank                                                           Contingent
          3030 Montana Ave.                                                     Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Operating Line of Credit
          Last 4 digits of account number       0005
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $669.79
          Valley Bank                                                           Contingent
          3030 Montana Ave.                                                     Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Overdrawn Account
          Last 4 digits of account number       4492
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,269.06
          Valley Bank                                                           Contingent
          3030 Montana Ave.                                                     Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Overdrawn Account
          Last 4 digits of account number       4484
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $8.87
          Valley Office Systems                                                 Contingent
          2050 1st St.                                                          Unliquidated
          Idaho Falls, ID 83401                                                 Disputed
          Date(s) debt was incurred 10/22/19
                                                                             Basis for the claim:    Services
          Last 4 digits of account number RA02
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Vengroff Williams                                                     Contingent
          2099 S. State College Blvd.                                           Unliquidated
          Ste. 300                                                              Disputed
          Anaheim, CA 92806
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,112.96
          VinSolutions                                                          Contingent
          3400 New Hyde Park Rd.                                                Unliquidated
          New Hyde Park, NY 11042-1226                                          Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Services
          Last 4 digits of account number 2881
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Robert Allen Auto Group, Inc.                                                           Case number (if known)
              Name

 3.120     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,884.20
           Whitehall's Alpine Distrib.                                          Contingent
           PO Box 298                                                           Unliquidated
           Belgrade, MT 59714                                                   Disputed
           Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Supplies
           Last 4 digits of account number 3250
                                                                             Is the claim subject to offset?         No    Yes

 3.121     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $3,923.95
           XPO Logistics Freight, Inc.                                          Contingent
           29559 Network Place                                                  Unliquidated
           Chicago, IL 60673-1559                                               Disputed
           Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Shipping
           Last 4 digits of account number 4982
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       AllData
           PO Box 848379                                                                              Line     3.3
           Dallas, TX 75284-8379
                                                                                                             Not listed. Explain

 4.2       Allen Maxwell & Silver
           PO Box 450                                                                                 Line     3.74
           Fair Lawn, NJ 07410
                                                                                                             Not listed. Explain

 4.3       Altus Receivables Mngmt.
           2400 Veterans Memorial Blvd.                                                               Line     3.90
           Suite 300
                                                                                                             Not listed. Explain
           Kenner, LA 70062

 4.4       American Express Travel
           Related Services Co., Inc.                                                                 Line     3.4
           200 Vesey Street
                                                                                                             Not listed. Explain
           New York, NY 10285

 4.5       American Tire Dist.
           1815 S. 4650 W.                                                                            Line     3.5
           Salt Lake City, UT 84104
                                                                                                             Not listed. Explain

 4.6       Amtrust North America
           PO Box 6939                                                                                Line     3.7
           Cleveland, OH 44101-1939
                                                                                                             Not listed. Explain

 4.7       AutoZone, Inc.
           PO Box 791409                                                                              Line     3.10
           Baltimore, MD 21279-1409
                                                                                                             Not listed. Explain

 4.8       AutoZone, Inc.
           PO Box 116067                                                                              Line     3.10
           Atlanta, GA 30368-6067
                                                                                                             Not listed. Explain



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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.9      Balboa Capital Corp.
          2010 Main St., Ste. 1100                                                               Line   3.11
          Irvine, CA 92614
                                                                                                        Not listed. Explain

 4.10     Balboa Capital Corp.
          5775 Enterprise                                                                        Line   3.11
          Warren, MI 48092
                                                                                                        Not listed. Explain

 4.11     Bank of West
          574 Sansome St. 19th Floor                                                             Line   3.113
          San Francisco, CA 94111
                                                                                                        Not listed. Explain

 4.12     Benedetto Law Group
          2372 Morse Ave. Suite 130                                                              Line   3.11
          Irvine, CA 92614
                                                                                                        Not listed. Explain

 4.13     Brennan & Clark
          721 East Madison St. Ste 200                                                           Line   3.72
          Villa Park, IL 60181
                                                                                                        Not listed. Explain

 4.14     C2C Resources
          56 Parimeter Center East                                                               Line   3.16
          Ste. 100
                                                                                                        Not listed. Explain
          Atlanta, GA 30346

 4.15     Caine & Weiner
          2000 Warrington Way                                                                    Line   3.19
          Louisville, KY 40222
                                                                                                        Not listed. Explain

 4.16     Capital Management Services
          698 1/2 S. Ogden Street                                                                Line   3.27
          Buffalo, NY 14206-2317
                                                                                                        Not listed. Explain

 4.17     CARFAX
          5860 Trinity Pkwy #600                                                                 Line   3.13
          Centreville, VA 20120
                                                                                                        Not listed. Explain

 4.18     Cenex Fleet Fueling
          PO Box 64127                                                                           Line   3.26
          Saint Paul, MN 55164-0127
                                                                                                        Not listed. Explain

 4.19     Cenex Voyager Fleet
          PO Box 64745                                                                           Line   3.26
          Saint Paul, MN 55164-0745
                                                                                                        Not listed. Explain

 4.20     Chemwest LLC
          250 S. Blvd. Suite B                                                                   Line   3.25                                 3145
          Idaho Falls, ID 83402
                                                                                                        Not listed. Explain

 4.21     CHS Inc.
          PO Box 64745                                                                           Line   3.23
          Saint Paul, MN 55164-0745
                                                                                                        Not listed. Explain




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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.22     CoreLogic Credco LLC
          10277 Scripps Ranch Blvd.                                                              Line   3.28
          San Diego, CA 92131
                                                                                                        Not listed. Explain

 4.23     Credit Protectoin Assoc. LP
          2500 Dallas Pkwy, Suite 500                                                            Line   3.88
          Plano, TX 75093
                                                                                                        Not listed. Explain

 4.24     Dealer Dot Com
          PO Box 936711                                                                          Line   3.63
          Atlanta, GA 31193
                                                                                                        Not listed. Explain

 4.25     Dealer-FX Group, Inc.
          c/o T60122U                                                                            Line   3.33
          PO Box 66512
                                                                                                        Not listed. Explain
          Chicago, IL 60666-0512

 4.26     Dealertrack
          3400 New Hyde Park Rd.                                                                 Line   3.35
          New Hyde Park, NY 11042
                                                                                                        Not listed. Explain

 4.27     Diligenz, Inc.
          6500 Harbour Heights Pkwy                                                              Line   3.86
          Suite 400
                                                                                                        Not listed. Explain
          Mukilteo, WA 98275

 4.28     Direct Automotive Dist.
          PO Box 9129                                                                            Line   3.37
          Spokane, WA 99209
                                                                                                        Not listed. Explain

 4.29     FedEx
          PO Box 94515                                                                           Line   3.87
          Palatine, IL 60094-4515
                                                                                                        Not listed. Explain

 4.30     FedEx
          3965 Airways Blvd.                                                                     Line   3.41
          Module G, 4th Floor
                                                                                                        Not listed. Explain
          Memphis, TN 38116

 4.31     First Bankcard
          PO Box 3331                                                                            Line   3.44
          Omaha, NE 68103-0331
                                                                                                        Not listed. Explain

 4.32     Glacier Family of Banks
          49 Commons Loop                                                                        Line   3.115
          Kalispell, MT 59901
                                                                                                        Not listed. Explain

 4.33     Glacier Family of Banks
          49 Commons Loop                                                                        Line   3.116
          Kalispell, MT 59901
                                                                                                        Not listed. Explain

 4.34     Helena Towing Service, LLC
          PO Box 5057                                                                            Line   3.56
          Helena, MT 59604
                                                                                                        Not listed. Explain



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 Debtor       Robert Allen Auto Group, Inc.                                                      Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.35     Jonathan Neil & Assoc., Inc.
          18321 Ventura Blvd. Ste 1000                                                           Line   3.81
          Tarzana, CA 91356
                                                                                                        Not listed. Explain

 4.36     Kengroff Williams, Inc.
          PO Box 4155                                                                            Line   3.5
          Sarasota, FL 34230
                                                                                                        Not listed. Explain

 4.37     Kengroff Williams, Inc.
          2099 S. State College Blvd.                                                            Line   3.5
          Ste. 300
                                                                                                        Not listed. Explain
          Anaheim, CA 92806

 4.38     Lawson Products
          8770 West Bryn Mawr Ave.                                                               Line   3.72
          Ste. 900
                                                                                                        Not listed. Explain
          Chicago, IL 60631-3515

 4.39     LKQ Eastern Idaho
          PO Box 742922                                                                          Line   3.74
          Los Angeles, CA 90074
                                                                                                        Not listed. Explain

 4.40     LKQ/Keystone-West Region-W3
          11355 Dismantle Court                                                                  Line   3.74
          Rancho Cordova, CA 95742
                                                                                                        Not listed. Explain

 4.41     LLC CenturyLink Com.
          Business Services                                                                      Line   3.24
          PO Box 52187
                                                                                                        Not listed. Explain
          Phoenix, AZ 85072-2187

 4.42     Nissan Motor Accept. Corp.
          990 W. 190th St.                                                                       Line   3.86
          Torrance, CA 90502
                                                                                                        Not listed. Explain

 4.43     Nissan Motor Accept. Corp.
          PO Box 660620                                                                          Line   3.86
          Attn: Commercial Credit
                                                                                                        Not listed. Explain
          Dallas, TX 75266-0620

 4.44     North Shore Agency
          270 Spagnoli Road, Ste. 110                                                            Line   3.41
          Melville, NY 11747
                                                                                                        Not listed. Explain

 4.45     Santander Consumer USA
          PO Box 744725                                                                          Line   3.100
          Atlanta, GA 30374
                                                                                                        Not listed. Explain

 4.46     Sky Blue Industries, Inc.
          760 W. Exchange Rd.                                                                    Line   3.113
          Ogden, UT 84402
                                                                                                        Not listed. Explain

 4.47     Swire Coca-Cola, USA
          12634 South 265 West                                                                   Line   3.104
          Draper, UT 84020
                                                                                                        Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 23 of 24
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 Debtor       Robert Allen Auto Group, Inc.                                                      Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.48      US Bank Equipment Finance
           PO Box 790448                                                                         Line     3.113
           Saint Louis, MO 63179-0448
                                                                                                        Not listed. Explain

 4.49      US Bank Equipment Finance
           SL-MO-C1WS                                                                            Line     3.113
           1005 Convention Plaza
                                                                                                        Not listed. Explain
           Saint Louis, MO 63101

 4.50      VinSolutions
           P Box 935595                                                                          Line     3.119
           Atlanta, GA 31193-5595
                                                                                                        Not listed. Explain

 4.51      XPO Logistics Freight, Inc.
           PO Box 982020                                                                         Line     3.121
           North Richland Hills, TX 76182
                                                                                                        Not listed. Explain

 4.52      XPO Logistics Freight, Inc.
           9151 Boulevard 26 Bldg. A                                                             Line     3.121
           North Richland Hills, TX 76180
                                                                                                        Not listed. Explain

 4.53      Zwicker & Associates, P.C.
           80 Minuteman Road                                                                     Line     3.4
           Andover, MA 01810-1008
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.         $                     51,000.00
 5b. Total claims from Part 2                                                                       5b.    +    $                  1,959,696.72

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.         $                    2,010,696.72




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 24 of 24
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 Fill in this information to identify the case:

 Debtor name         Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Lease of Equipment
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                None
                                                                                     Balboa Capital
             List the contract number of any                                         575 Anton Blvd. 12th Floor
                   government contract                                               Costa Mesa, CA 92626


 2.2.        State what the contract or                   Sign Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                None
                                                                                     Nissan Motor Accept. Corp.
             List the contract number of any                                         8900 Freeport Parkway
                   government contract                                               Irving, TX 75063


 2.3.        State what the contract or                   Car Wash
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                None
                                                                                     Sky Blue Industries, Inc.
             List the contract number of any                                         760 W. Exchange Rd.
                   government contract                                               Ogden, UT 84402




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Robert T. Allen                   9075 Stoney Creek Rd.                              Balboa Capital                    D
                                               Pocatello, ID 83204                                Corporation                       E/F       3.11
                                                                                                                                    G




    2.2      Robert T. Allen                   9075 Stoney Creek Rd.                              Great America                     D   2.12
                                               Pocatello, ID 83204                                Financial Serv                    E/F
                                                                                                                                    G




    2.3      Robert T. Allen                   9075 Stoney Creek Rd.                              US Bank Equipment                 D
                                               Pocatello, ID 83204                                Finance                           E/F       3.113
                                                                                                                                    G




    2.4      Robert T. Allen                   9075 Stoney Creek Rd.                              Nissan Motor Accept.              D   2.13
                                               Pocatello, ID 83204                                Corp.                             E/F
                                                                                                                                    G




    2.5      Robert T. Allen                   9075 Stoney Creek Rd.                              First Data Global                 D
                                               Pocatello, ID 83204                                Leasing                           E/F       3.46
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       Robert Allen Auto Group, Inc.                                                  Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Robert T. Allen                   9075 Stoney Creek Rd.                              BFS Capital               D
                                               Pocatello, ID 83204                                                          E/F       3.16
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Robert Allen Auto Group, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $27,326,940.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Robert Allen Auto Group, Inc.                                                             Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Jackson Murdo & Grant PC                                    12/10/2019                       $10,500.00                Secured debt
               203 North Ewing Street                                                                                                 Unsecured loan repayments
               Helena, MT 59601                                                                                                       Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Robert T. Allen                                             2019                             $39,000.00           Wages
               9075 W. Stoney Creek Rd.
               Pocatello, ID 83204
               President of Corp.

       4.2.    Angela Allen                                                2019                             $16,250.00           Wages
               9075 Stoney Creek Rd.
               Pocatello, ID 83204
               Spouse of President of Corp.

       4.3.    Tyler Allen                                                 2019                             $59,999.81           Wages
               316 W. 200 S. Apt. 402
               Salt Lake City, UT 84101
               Son of President of Debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Pioneer Lender Trustee Services                           See Attachment "A"                                            Sale 0n March           $4,300,000.00
       8151 W. Rifleman Street                                                                                                 3, 2020
       Boise, ID 83704

       Balboa Capital                                            Various pieces of equipment                                   2020                         Unknown
       575 Anton Blvd. 12th Floor
       Costa Mesa, CA 92626


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken




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                    STATEMENT OF FINANCIAL AFFAIRS

                               ATTACHMENT “A”
                       (Question 5., Description of Property)


PARCEL 1: LOTS 1 AND 2, BLOCK 269, POCATELLO TOWNSITE, BANNOCK COUNTY,
IDAHO, AS THE SAME APPEARS ON THE OFFICIAL THEREOF.
PARCEL 2: ALL OF LOT 16 AND THE SOUTH ONE-HALF OF LOT 17, BLOCK 269,
POCATELLO TOWNSITE, BANNOCK COUNTY, IDAHO, AS THE SAME APPEARS ON
THE OFFICIAL THEREOF.
PARCEL 3: LOTS 7 AND 8, BLOCK 270, POCATELLO TOWNSITE, BANNOCK COUNTY,
IDAHO, AS THE SAME APPEARS ON THE OFFICIAL THEREOF.
PARCEL 4: THE WESTERLY 70 FEET OF LOTS 9 AND 10, BLOCK 270, POCATELLO
TOWNSITE, BANNOCK COUNTY, IDAHO, AS THE SAME APPEARS ON THE OFFICIAL
THEREOF.
PARCEL 5: LOTS 11-15 AND THE SOUTH 6 FEET OF LOT 16 IN BLOCK 270 OF
POCATELLO TOWNSITE, BANNOCK COUNTY, IDAHO, AS THE SAME APPEARS ON
THE OFFICIAL THEREOF.
PARCEL 6: ALL OF LOT 1 AND THE NORTH HALF OF LOT 2 IN BLOCK 293 OF
POCATELLO TOWNSITE, BANNOCK COUNTY, IDAHO, AS THE SAME APPEARS ON
THE OFFICIAL THEREOF.
PARCEL 7: THE SOUTH HALF OF LOT 2 AND ALL OF LOT 3 IN BLOCK 293 OF
POCATELLO TOWNSITE, BANNOCK COUNTY, IDAHO, AS THE SAME APPEARS ON
THE OFFICIAL THEREOF.
PARCEL 8: LOTS 4 AND 5 IN BLOCK 293 OF POCATELLO TOWNSITE, BANNOCK
COUNTY, IDAHO, AS THE SAME APPEARS ON THE OFFICIAL THEREOF.
PARCEL 9: LOTS 6-10 IN BLOCK 293 OF POCATELLO TOWNSITE, BANNOCK COUNTY,
IDAHO, AS THE SAME APPEARS ON THE OFFICIAL THEREOF.
PARCEL 10: LOTS 11 AND 12, BLOCK 293, POCATELLO TOWNSITE, BANNOCK
COUNTY, IDAHO, AS THE SAME APPEARS ON THE OFFICIAL THEREOF.
PARCEL 11: LOTS 1-7, BLOCK 294, POCATELLO TOWNSITE, BANNOCK COUNTY,
IDAHO, AS THE SAME APPEARS ON THE OFFICIAL THEREOF.
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 Debtor       Robert Allen Auto Group, Inc.                                                             Case number (if known)



       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       Balboa Capital                                            Repossessed equipment                                         February 4,                  Unknown
       575 Anton Blvd. 12th Floor                                Last 4 digits of account number:                              2020
       Costa Mesa, CA 92626

       NMAC Wholesale Processing                                 NMAC took possession of multiple cars                         05/2019 -                    Unknown
       8900 Freeport Parkway                                     and have not sold them yet. It is unknown                     06/2019
       Irving, TX 75063-2438                                     at this time what they are worth and how
                                                                 much would offset what is believed to be
                                                                 owed to NMAC by the Debtor.
                                                                 Last 4 digits of account number:


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    American Express Travel                           Collections on            Supreme Ct. of State of                         Pending
               Related Services, Company                         Credit Card               New York                                        On appeal
               vs.                                                                         60 Centre St.,
                                                                                                                                           Concluded
               Robert Allen Nissan of                                                      New York, NY 10007
               Helena, Inc.
               650878/2020

       7.2.    Balboa Capital Corporation                        Collections               Superior Court of                               Pending
               vs. Robert Allen Auto Group,                                                California, Orange Cty                          On appeal
               Robert Allen Mitsubishi,                                                    700 Civic Center Drive West
                                                                                                                                           Concluded
               Robert Allen Nissan of                                                      Santa Ana, CA 92701
               Helena, Inc.
               30-2019-01102945-CU-CO-CJ
               C

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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 Debtor        Robert Allen Auto Group, Inc.                                                                Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.                                                                                                                   April 26,
                                                                                                                               2019 -
                                                                                                                               $473.00
                                                                                                                               June 16,
                                                                                                                               2019 -
                                                                                                                               $150.50
                                                                                                                               June 20,
                                                                                                                               2019 -
                                                                                                                               $5,000.00
                                                                                                                               July 6, 2019
                                                                                                                               - 43.00
                                                                                                                               December
                                                                                                                               27, 2019 -
                                                                                                                               $4,319.50
                                                                                                                               February
                 Maynes Taggart PLLC                                                                                           21, 2020 -
                 PO Box 3005                                                                                                   $1,717.00
                 Idaho Falls, ID 83403-3005                          Attorney Fees and filing fee.                             (Filing Fee)           $11,703.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Robert T. Allen



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer         Total amount or
                Address                                          payments received or debts paid in exchange                was made                       value


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 Debtor       Robert Allen Auto Group, Inc.                                                             Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1                                                      2008 22' flatbed trailer. Titled in Robert T.
       .                                                         Allen since purchased; however, Debtor
                                                                 used it for various things and
               Robert T. Allen                                   subsequently registered it in Debtor's
               9075 Stoney Creek Rd.                             name. Registration was then recorded in
               Pocatello, ID 83204                               Robert T. Allen's name in 2019.                         2019                           $1,200.00

               Relationship to debtor
               President of Debtor


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

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 Debtor        Robert Allen Auto Group, Inc.                                                            Case number (if known)



                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was           Last balance
                 Address                                         account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     First Bankcard                                  XXXX-2756                   Checking                 December 11,                   Unknown
                 PO Box 2457                                                                 Savings                  2019
                 Omaha, NE 68103-2457                                                        Money Market
                                                                                             Brokerage
                                                                                             Other Credit
                                                                                          Card

       18.2.     First Bankcard                                  XXXX-9373                   Checking                 December 11,                   Unknown
                 PO Box 2457                                                                 Savings                  2019
                 Omaha, NE 68103-2457                                                        Money Market
                                                                                             Brokerage
                                                                                             Other Credit
                                                                                          Card

       18.3.     First Bankcard                                  XXXX-4927                   Checking                 December 12,                   Unknown
                 PO Box 2457                                                                 Savings                  2019
                 Omaha, NE 68103-2457                                                        Money Market
                                                                                             Brokerage
                                                                                             Other Credit
                                                                                          Card

       18.4.     Ireland Bank                                    XXXX-2575                   Checking                 February 24,                         $0.00
                 PO Box 186                                                                  Savings
                                                                                                                      2020
                 Malad City, ID 83252
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.5.     Ireland Bank                                    XXXX-9869                   Checking                 February 21,                         $0.00
                 33 Bannock St.                                                              Savings
                                                                                                                      2020
                 Malad City, ID 83252
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.6.     Valley Bank                                     XXXX-                       Checking                 February 18,                         $0.00
                 3030 Montana Ave.                                                           Savings
                                                                                                                      2020
                 Helena, MT 59601
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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 Debtor      Robert Allen Auto Group, Inc.                                                              Case number (if known)




          None

       Facility name and address                                      Names of anyone with                Description of the contents                   Do you still
                                                                      access to it                                                                      have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       John Martin                                                                                                          Ongoing
                    Martin CPAs, PC
                    963 Blue Lakes Blvd., Ste. A
                    Twin Falls, ID 83301

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       John Martin                                                                                                          Ongoing
                    Martin CPAs, PC
                    963 Blue Lakes Blvd., Ste. A
                    Twin Falls, ID 83301

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       John Martin
                    Martin CPAs, PC
                    963 Blue Lakes Blvd., Ste. A
                    Twin Falls, ID 83301

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Robert T. Allen                                9075 Stoney Creek Rd.                               President                             100%
                                                      Pocatello, ID 83204



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



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 Debtor      Robert Allen Auto Group, Inc.                                                              Case number (if known)




            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Angela Allen                                   9075 Stoney Creek Rd.                               Member of Allen Family           Ended February
                                                      Pocatello, ID 83204                                 Holdings, LLC                    21, 2020


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                              Over the
       .    Robert T. Allen                                                                                              course of the
               9075 Stoney Creek Rd.                                                                                     last year,
               Pocatello, ID 83204                               $39,000.00                                              2019.             Wages.

               Relationship to debtor
               President of Corp.


       30.2 Angela Allen                                                                                                 Throughout
       .    9075 Stoney Creek Rd.                                                                                        the last year,
               Pocatello, ID 83204                               $16,250.00                                              2019.             Wages.

               Relationship to debtor
               Spouse of President of
               Debtor


       30.3 Tyler Allen                                                                                                  Throughout
       .    316 W. 200 S. Apt. 402                                                                                       the last year,
               Salt Lake City, UT 84101                          $59,999.81                                              2019.             Wages.

               Relationship to debtor
               Son of President of Debtor


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

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      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 2, 2020

 /s/ Robert Allen                                                        Robert Allen
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                           District of Idaho
 In re      Robert Allen Auto Group, Inc.                                                                             Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 2, 2020                                                          Signature /s/ Robert Allen
                                                                                            Robert Allen

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                            District of Idaho
 In re      Robert Allen Auto Group, Inc.                                                                 Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Robert Allen Auto Group, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 2, 2020                                                         /s/ Steven L. Taggart
 Date                                                                  Steven L. Taggart 8551
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Robert Allen Auto Group, Inc.
                                                                       Maynes Taggart PLLC
                                                                       PO Box 3005
                                                                       Idaho Falls, ID 83403-3005




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                                                                            District of Idaho
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                                                                                    Debtor(s)      Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       March 2, 2020                                               /s/ Robert Allen
                                                                         Robert Allen/President
                                                                         Signer/Title




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                        Advanced Auto Parts
                        PO Box 404875
                        Atlanta, GA 30384



                        All Florida Towing
                        1107 Old Dixie Highway
                        West Palm Beach, FL 33403-2007



                        AllData
                        PO Box 848379
                        Dallas, TX 75284-8379



                        Alldata Automotive Intell.
                        9650 W. Taron Dr. Ste. 100
                        Elk Grove, CA 95757



                        Allen Maxwell  Silver
                        PO Box 450
                        Fair Lawn, NJ 07410



                        Altus Receivables Mngmt.
                        2400 Veterans Memorial Blvd.
                        Suite 300
                        Kenner, LA 70062



                        American Express
                        c/o Tiffany Maldonado, Esq.
                        1551 S. Wash. Ave. Ste 404
                        Piscataway, NJ 08854



                        American Express Travel
                        Related Services Co., Inc.
                        200 Vesey Street
                        New York, NY 10285



                        American Tire Dist.
                        PO Box 889
                        Huntersville, NC 28070
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                    American Tire Dist.
                    1815 S. 4650 W.
                    Salt Lake City, UT 84104



                    AmeriPride
                    403 Main Ave. West
                    Twin Falls, ID 83301



                    AmTrust North America
                    800 Superior Ave. E
                    Cleveland, OH 44114



                    Amtrust North America
                    PO Box 6939
                    Cleveland, OH 44101-1939



                    Andreanna Garzia
                    1280 S. Meridian
                    Blackfoot, ID 83221



                    Andrew S. Elliott, Esq.
                    One Embarcadero Center,
                    Suite 2600
                    San Francisco, CA 94111



                    Angela Allen
                    9075 Stoney Creek Rd.
                    Pocatello, ID 83201



                    AutoZone
                    780 Yellowstone
                    Pocatello, ID 83204



                    AutoZone, Inc.
                    PO Box 791409
                    Baltimore, MD 21279-1409
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                    AutoZone, Inc.
                    PO Box 116067
                    Atlanta, GA 30368-6067



                    Balboa Capital
                    575 Anton Blvd. 12th Floor
                    Costa Mesa, CA 92626



                    Balboa Capital Corp.
                    2010 Main St., Ste. 1100
                    Irvine, CA 92614



                    Balboa Capital Corp.
                    5775 Enterprise
                    Warren, MI 48092



                    Balboa Capital Corporation
                    575 Anton Blvd. 12th Floor
                    Costa Mesa, CA 92626



                    Bank of America N.A.
                    9000 Southside Blvd.
                    FL9-600-01-57
                    Jacksonville, FL 32256



                    Bank of West
                    574 Sansome St. 19th Floor
                    San Francisco, CA 94111



                    Bannock County Treasurer
                    624 E. Center St., Rm. 203
                    Pocatello, ID 83201



                    Barr Credit Services
                    5151 E. Broadway Blvd.
                    Suite 800
                    Tucson, AZ 85711
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                    Battery Systems
                    12322 Monarch St.
                    Garden Grove, CA 92841



                    Beaverton Infiniti
                    PO Box 728
                    Beaverton, OR 97075



                    Benedetto Law Group
                    2372 Morse Ave. Suite 130
                    Irvine, CA 92614



                    BFS Capital
                    3301 N. University Dr.
                    Suite 300
                    Coral Springs, FL 33065



                    Biehl   Biehl
                    325 E. Fullerton Ave.
                    Carol Stream, IL 60188



                    Blaize, Inc.
                    704 332nd. NE
                    Great Falls, MT 59404



                    Brennan   Clark
                    721 East Madison St. Ste 200
                    Villa Park, IL 60181



                    C2C Resources
                    56 Parimeter Center East
                    Ste. 100
                    Atlanta, GA 30346



                    Caine   Weiner
                    2000 Warrington Way, Ste 150
                    Louisville, KY 40222
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                    Caine   Weiner
                    2000 Warrington Way
                    Louisville, KY 40222



                    Capital Management Services
                    698 1/2 S. Ogden Street
                    Buffalo, NY 14206-2317



                    Capital One
                    7933 Preston Rd.
                    Plano, TX 75024



                    Card Service Center
                    PO Box 569100
                    Dallas, TX 75356-9100



                    CARFAX
                    5860 Trinity Pkwy #600
                    Centreville, VA 20120



                    Carquest Auto
                    PO Box 404875
                    Atlanta, GA 30384



                    Cenex Fleet Fueling
                    PO Box 64127
                    Saint Paul, MN 55164-0127



                    Cenex Voyager Fleet
                    PO Box 64745
                    Saint Paul, MN 55164-0745



                    CenturyLink
                    PO Box 91155
                    Seattle, WA 98111
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                    Chemwest
                    47313 E. Majestic View
                    Idaho Falls, ID 83406



                    Chemwest LLC
                    250 S. Blvd. Suite B
                    Idaho Falls, ID 83402



                    CHS Inc.
                    PO Box 64745
                    Saint Paul, MN 55164-0745



                    CHS, Inc.
                    5500 Cenex Drive
                    Inver Grove Heights, MN 55077-1721



                    Citi Bank
                    PO Box 78045
                    Phoenix, AZ 85062



                    Corelogic Credco LLC
                    PO Box 847070
                    Dallas, TX 75284



                    CoreLogic Credco LLC
                    10277 Scripps Ranch Blvd.
                    San Diego, CA 92131



                    Corporate Fleet Auto Express
                    PO Box 174
                    Springdale, WA 99173



                    Cottonwood Motors, Inc.
                    50 E. Central Ave.
                    Salt Lake City, UT 84107
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                    Credit Protectoin Assoc. LP
                    2500 Dallas Pkwy, Suite 500
                    Plano, TX 75093



                    Cuna Mutual Group
                    PO Box 391
                    Madison, WI 53701-0391



                    Dani McDonald
                    1502 Boston Rd.
                    Helena, MT 59602



                    Dash Designs
                    615 W. Knox Rd.
                    Tempe, AZ 85284



                    Dealer Dot Com
                    PO Box 936711
                    Atlanta, GA 31193



                    Dealer-FX Group Inc.
                    80 Tiverton Court, Ste. 500
                    Markham ON L3R 0G4, Canada



                    Dealer-FX Group, Inc.
                    c/o T60122U
                    PO Box 66512
                    Chicago, IL 60666-0512



                    Dealersocket
                    PO Box 843876
                    Los Angeles, CA 90084



                    Dealertrack
                    PO Box 6129
                    New York, NY 10249
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                    Dealertrack
                    3400 New Hyde Park Rd.
                    New Hyde Park, NY 11042



                    Demarios, Inc.
                    dba Demarios Buick GMC Truck
                    PO Box 8539
                    Missoula, MT 59807



                    Diligenz, Inc.
                    6500 Harbour Heights Pkwy
                    Suite 400
                    Mukilteo, WA 98275



                    Direct Automotive Dist.
                    PO Box 9129
                    Spokane, WA 99209



                    Direct Automotive Distrib.
                    2775 E. 14th North
                    Idaho Falls, ID 83406



                    Divine Film Solutions
                    35 Mountain Dr.
                    Pocatello, ID 83204



                    Eastern Commercial Credit
                    PO Box 340102
                    Dayton, OH 45434-0102



                    Enterprise Holdings
                    PO Box 804914
                    Kansas City, MO 64180-4914



                    FedEx
                    PO Box 94515
                    Palatine, IL 60094-4515
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                    FedEx
                    3965 Airways Blvd.
                    Module G, 4th Floor
                    Memphis, TN 38116



                    Fifth Third Bank
                    38 Fountain Square Plaza
                    Cincinnati, OH 45263



                    First American Payment Sys.
                    100 Throckmorton, Ste. 1800
                    Fort Worth, TX 76102



                    First Bankcard
                    PO Box 2457
                    Omaha, NE 68103-2457



                    First Bankcard
                    PO Box 2818
                    Omaha, NE 68103-2818



                    First Bankcard
                    PO Box 3331
                    Omaha, NE 68103-0331



                    First Data Global Leasing
                    PO Box 173845
                    Denver, CO 80217



                    Fisher's Technology
                    575 E. 42nd Street
                    Garden City, ID 83714



                    Fitech
                    301 Commerce St., Ste. 1400
                    Fort Worth, TX 76102
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                    Flagship
                    3 Christy Dr. Ste. 201
                    Chadds Ford, PA 19317



                    Flying M Machine   Fab.
                    3148 East Lyndale Ave.
                    Helena, MT 59601



                    GB Collects, LLC
                    1253 Haddonfield Berlin Rd.
                    Voorhees, NJ 08043-4847



                    General Distributing Co.
                    PO Box 2606
                    Great Falls, MT 59403-2606



                    Glacier Family of Banks
                    49 Commons Loop
                    Kalispell, MT 59901



                    Golden West Enterprises
                    1740 Holmes Ave.
                    Butte, MT 59701



                    Great America Financial Serv
                    625 First Street SE Ste. 800
                    Cedar Rapids, IA 52401



                    Great America Financial Serv
                    PO Box 609
                    Cedar Rapids, IA 52406-0609



                    Green Mewdow Auto Salvage
                    7313 Green Meadow Drive
                    Helena, MT 59602
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                    Hansen Janitorial
                    410 South 1st.
                    Pocatello, ID 83201



                    Helena Towing Service
                    1193 Hunter Rd.
                    Helena, MT 59602



                    Helena Towing Service, LLC
                    PO Box 5057
                    Helena, MT 59604



                    Idaho Dpt. of Transportation
                    Revenue Operations
                    PO Box 34
                    Boise, ID 83731-0034



                    Idaho State Tax Commission
                    PO Box 36
                    Boise, ID 83722



                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101-7346



                    Ireland Bank
                    PO Box 569100
                    Dallas, TX 75326



                    Jackson Murdo   Grant PC
                    203 North Ewing Street
                    Helena, MT 59601



                    Jaguar Land Rover
                    Downtown Salt Lake
                    150 E. 500 S.
                    Salt Lake City, UT 84111
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                    Jasons Auto Glass
                    1051 Sawtooth
                    Pocatello, ID 83202



                    Jonathan Neil   Assoc., Inc.
                    17 West Main St., Suite 304
                    Freehold, NJ 07728



                    Jonathan Neil   Assoc., Inc.
                    18321 Ventura Blvd. Ste 1000
                    Tarzana, CA 91356



                    Ken Garff Jaguar
                    150 E. 500 So.
                    Salt Lake City, UT 84111



                    Ken Garff MB
                    575 S. State
                    Salt Lake City, UT 84111



                    Ken Garff Nissan
                    777 SW Temple
                    Salt Lake City, UT 84101



                    Ken Garff VW
                    195 E. University
                    Orem, UT 84058



                    Kengroff Williams, Inc.
                    PO Box 4155
                    Sarasota, FL 34230



                    Kengroff Williams, Inc.
                    2099 S. State College Blvd.
                    Ste. 300
                    Anaheim, CA 92806
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                    Kenneth Edick
                    3439 Blue Heron St.
                    Helena, MT 59602



                    Kingdom Keys
                    1050 E. Center
                    Pocatello, ID 83201



                    Lamar of Billings, MT
                    7505 Entryway Dr.
                    Billings, MT 59101



                    Larry Miller Chev
                    5500 S. State
                    Murray, UT 84107



                    Larry Miller Luxury
                    5686 State Street
                    Salt Lake City, UT 84107



                    Lawson Products
                    PO Box 809401
                    Chicago, IL 60680



                    Lawson Products
                    8770 West Bryn Mawr Ave.
                    Ste. 900
                    Chicago, IL 60631-3515



                    Lithia Motors
                    PO Box 1268
                    Pocatello, ID 83204



                    LKQ Eastern Idaho
                    PO Box 742922
                    Los Angeles, CA 90074
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                    LKQ of Eastern Idaho
                    5497 S. 5th Ave.
                    Pocatello, ID 83204



                    LKQ/Keystone-West Region-W3
                    11355 Dismantle Court
                    Rancho Cordova, CA 95742



                    LLC CenturyLink Com.
                    Business Services
                    PO Box 52187
                    Phoenix, AZ 85072-2187



                    Mark A. Ellingsen, Esq.
                    Spokesman Reivew Building
                    608 Northwest Blvd. Ste. 300
                    Coeur D Alene, ID 83814-2146



                    Mercedes Benz Draper
                    11548 S. Lone Peak Prkway.
                    Draper, UT 84020



                    Mercedes of Farmington
                    555 W. Bourne Cir.
                    Farmington, UT 84025



                    Mitchell1
                    25029 Network Place
                    Chicago, IL 60673-1250



                    Mitsubishi Motors North Am.
                    6450 Katella Ave.
                    Cypress, CA 90630



                    Moncur Distribution
                    2835 E. Morningside Dr.
                    Idaho Falls, ID 83402
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                    MTADA
                    501 N. Sanders
                    Helena, MT 59601



                    Mygrant Glass Company Inc.
                    c/o Jonathan Neil Assoc.



                    NAPA Auto Parts
                    PO Box 1425
                    Twin Falls, ID 83303



                    New Day Products
                    1704 N. Main Street
                    Pocatello, ID 83204



                    New Start Financial
                    PO Box 709473
                    Sandy, UT 84070



                    Nissan Motor Accept. Corp.
                    8900 Freeport Parkway
                    Irving, TX 75063



                    Nissan Motor Accept. Corp.
                    PO Box 660360
                    Dallas, TX 75266



                    Nissan Motor Accept. Corp.
                    990 W. 190th St.
                    Torrance, CA 90502



                    Nissan Motor Accept. Corp.
                    PO Box 660620
                    Attn: Commercial Credit
                    Dallas, TX 75266-0620
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                    NMAC Wholesale Processing
                    8900 Freeport Parkway
                    Irving, TX 75063-2438



                    North Shore Agency
                    270 Spagnoli Road, Ste. 110
                    Melville, NY 11747



                    NorthWestern Energy
                    11 E. Park. St.
                    Butte, MT 59701



                    Novus Glass
                    PO Box 462
                    McCammon, ID 83250



                    O'Reilly Auto Parts
                    1233 Yellowstone
                    Pocatello, ID 83204



                    PacificSource Health Plans
                    PO Box 71096
                    Springfield, OR 97475



                    Performance Outdoor
                    PO Box 4983
                    Pocatello, ID 83205



                    Pioneer Lender Trustee Serv.
                    8151 W. Rifleman St.
                    Boise, ID 83704



                    Pioneer TItle Co. of Bannock
                    135 N. Arthur
                    Pocatello, ID 83204
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                    Pitney Bowes Purchase Power
                    PO Box 371874
                    Pittsburgh, PA 15250-7874



                    Porter's Office
                    435 West Center
                    Pocatello, ID 83204



                    Quality Foods Distributing
                    PO Box 11703
                    Bozeman, MT 59719



                    Rebecca Parrow
                    27 Stillwater Drive
                    Absarokee, MT 59001



                    Robert Allard
                    307 S. Billings Blvd. #64
                    Billings, MT 59101



                    Robert T. Allen
                    9075 Stoney Creek Rd.
                    Pocatello, ID 83204



                    Rogers Machinery Company
                    PO Box 230429
                    Portland, OR 97281-0429



                    Santander Consumer USA
                    5201 Rufe Snow Dr., Ste. 400
                    North Richland Hills, TX 76180



                    Santander Consumer USA
                    PO Box 744725
                    Atlanta, GA 30374
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                    Scripps Center
                    312 Walnut St.
                    Cincinnati, OH 45202



                    Sky Blue Industries, Inc.
                    760 W. Exchange Rd.
                    Ogden, UT 84402



                    Sparklight
                    PO Box 78000
                    Phoenix, AZ 85062



                    Sunrise Credit Services, Inc
                    PO Box 9100
                    Farmingdale, NY 11735-9100



                    Susan K. Edick
                    3439 Blue Heron St.
                    Helena, MT 59602



                    Swire Coca-Cola, USA
                    PO Box 413121
                    Salt Lake City, UT 84141



                    Swire Coca-Cola, USA
                    12634 South 265 West
                    Draper, UT 84020



                    TD Auto Finance
                    Mail Code MI1-012-11D
                    PO Box 9218
                    Farmington, MI 48333-9218



                    Teton Honda
                    1921 Hurley Dr.
                    Pocatello, ID 83202
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                    Teton Hundai
                    1350 Yellowstone Ave.
                    Pocatello, ID 83201



                    The Carmedic
                    4521 Hedge Rd.
                    Roxana, IL 62084



                    The Smith Group Chevrolet
                    PO Box 1896
                    Idaho Falls, ID 83403



                    Tidalwave Car Wash
                    115 Industrial Ct.
                    Kalispell, MT 59901



                    Tire Depot
                    55528 US Hwy 93
                    Polson, MT 59860



                    Tri County Disposal
                    3630 York Road
                    Helena, MT 59602



                    Tyler Allen
                    316 W. 200 S. Apt. 402
                    Salt Lake City, UT 84101



                    US Bank Equipment Finance
                    1310 Madrid Street
                    Marshall, MN 56258



                    US Bank Equipment Finance
                    PO Box 790448
                    Saint Louis, MO 63179-0448
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                    US Bank Equipment Finance
                    SL-MO-C1WS
                    1005 Convention Plaza
                    Saint Louis, MO 63101



                    Valley Bank
                    3030 Montana Ave.
                    Helena, MT 59601



                    Valley Office Systems
                    2050 1st St.
                    Idaho Falls, ID 83401



                    Vengroff Williams
                    2099 S. State College Blvd.
                    Ste. 300
                    Anaheim, CA 92806



                    VinSolutions
                    3400 New Hyde Park Rd.
                    New Hyde Park, NY 11042-1226



                    VinSolutions
                    P Box 935595
                    Atlanta, GA 31193-5595



                    Whitehall's Alpine Distrib.
                    PO Box 298
                    Belgrade, MT 59714



                    XPO Logistics Freight, Inc.
                    29559 Network Place
                    Chicago, IL 60673-1559



                    XPO Logistics Freight, Inc.
                    PO Box 982020
                    North Richland Hills, TX 76182
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                    XPO Logistics Freight, Inc.
                    9151 Boulevard 26 Bldg. A
                    North Richland Hills, TX 76180



                    Zwicker   Associates, P.C.
                    80 Minuteman Road
                    Andover, MA 01810-1008
